Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 1 of 10 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

 Cheskel Gross, individually and on behalf of all others
 similarly situated;                                                  Civil Action No: 1:21-cv-3989
                                          Plaintiff,
                                                                      CLASS ACTION COMPLAINT

                                                                      DEMAND FOR JURY TRIAL




        -v.-
 Radius Global Solutions LLC,

                                       Defendant(s).

       Plaintiff Cheskel Gross (hereinafter referred to as “Plaintiff”) brings this Class Action

Complaint by and through his attorneys, Stein Saks, PLLC, against Defendant Radius Global

Solutions LLC (hereinafter referred to as “Defendant”), individually and on behalf of a class of all

others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff's personal knowledge.

                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (“the FDCPA”) in 1977 in

   response to the “abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors.” 15 U.S.C. §1692(a). At that time, Congress was concerned

   that “abusive debt collection practices contribute to the number of personal bankruptcies, to

   marital instability, to the loss of jobs, and to invasions of individual privacy.” Id. Congress

   concluded that “existing laws…[we]re inadequate to protect consumers,” and that “the effective




                                                 1
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 2 of 10 PageID #: 2




   collection of debts” does not require “misrepresentation or other abusive debt collection

   practices.” 15 U.S.C. §§ 1692(b) & (c).

      2.      Congress explained that the purpose of the Act was not only to eliminate abusive

   debt collection practices, but also to “insure that those debt collectors who refrain from using

   abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e). After

   determining that the existing consumer protection laws were inadequate Id. § l692(b), Congress

   gave consumers a private cause of action against debt collectors who fail to comply with the

   Act. Id. § 1692k.

                                  JURISDICTION AND VENUE

      3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

   15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this

   action pursuant to 28 U.S.C. § 1367(a).

      4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

   where the Plaintiff resides, as well as where a substantial part of the events or omissions giving

   rise to the claim occurred.

                                   NATURE OF THE ACTION

      5.      Plaintiff brings this class action on behalf of a class of New York consumers under

   § 1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

   Collections Practices Act (“FDCPA”), and

      6.      Plaintiff is seeking damages and declaratory relief.

                                              PARTIES

      7.      Plaintiff is a resident of the State of New York, County of Kings.




                                                 2
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 3 of 10 PageID #: 3




      8.       Defendant is a “debt collector” as the phrase is defined in 15 U.S.C. § 1692(a)(6),

   with a business address of 7831 Glenroy Rd. Suite 250 Minneapolis, MN 55439 and address for

   service of process at C T Corporation System, 111 8th Fl 13, New York, NY 10011.

      9.       Upon information and belief, Defendant uses the mail, telephone, and facsimile and

   regularly engages in business, the principal purpose of which is to attempt to collect debts

   alleged to be due another.

                                        CLASS ALLEGATIONS

      10.      Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

   P. 23(a) and 23(b)(3).

      11.      The Class consists of:

               a. all individual consumers;

               b. to whom Defendant sent a collection letter attempting to collect a consumer debt;

               c. which imposed improper non-interest charges or fees accrued since charge-off;

               d. which letter was sent on or after a date one (1) year prior to the filing of this

                  action and on or before a date twenty-one (2l) days after the filing of this action.

      12.      The identities of all class members are readily ascertainable from the records of

   Defendant and those companies and entities on whose behalf they attempt to collect and/or have

   purchased debts.

      13.      Excluded from the Plaintiff Class are the Defendant and all officers, members,

   partners, managers, directors and employees of the Defendant and their respective immediate

   families, and legal counsel for all parties to this action, and all members of their immediate

   families.

      14.      There are questions of law and fact common to the Plaintiff Class, which common

   issues predominate over any issues involving only individual class members. The principal issue
                                                 3
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 4 of 10 PageID #: 4




   is whether the Defendant’s written communications to consumers, in the forms attached as

   Exhibit A, violate 15 U.S.C. §§ l692e, 1692f and 1692g et seq.

      15.     The Plaintiff’s claims are typical of the class members, as all are based upon the same

   facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

   Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

   handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

   nor his attorneys have any interests, which might cause them not to vigorously pursue this action.

      16.     This action has been brought, and may properly be maintained, as a class action

   pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

   well-defined community interest in the litigation:

              a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                  that the Plaintiff Class defined above is so numerous that joinder of all members

                  would be impractical.

              b. Common Questions Predominate: Common questions of law and fact exist as

                  to all members of the Plaintiff Class and those questions’ predominance over any

                  questions or issues involving only individual class members. The principal issue

                  is whether the Defendant’s written communications to consumers, in the forms

                  attached as Exhibit A violate 15 U.S.C. §§ l692e, l692f, and l692g et seq.

              c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                  The Plaintiff and all members of the Plaintiff Class have claims arising out of the

                  Defendants' common uniform course of conduct complained of herein.

              d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                  class members insofar as Plaintiff has no interests that are adverse to the absent



                                                 4
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 5 of 10 PageID #: 5




                  class members. The Plaintiff is committed to vigorously litigating this matter.

                  Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                  complex legal issues, and class actions. Neither the Plaintiff nor his counsel have

                  any interests which might cause them not to vigorously pursue the instant class

                  action lawsuit.

              e. Superiority: A class action is superior to the other available means for the fair

                  and efficient adjudication of this controversy because individual joinder of all

                  members would be impracticable. Class action treatment will permit a large

                  number of similarly situated persons to prosecute their common claims in a single

                  forum efficiently and without unnecessary duplication of effort and expense that

                  individual actions would engender.

      17.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

   is also appropriate in that the questions of law and fact common to members of the Plaintiff

   Class predominate over any questions affecting an individual member, and a class action is

   superior to other available methods for the fair and efficient adjudication of the controversy.

      18.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

   the time of class certification motion, seek to certify a class(es) only as to particular issues

   pursuant to Fed. R. Civ. P. 23(c)(4).


                                      FACTUAL ALLEGATIONS

      19.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

   numbered above herein with the same force and effect as if the same were set forth at length

   herein.




                                                 5
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 6 of 10 PageID #: 6




          20.   Some time prior to July 23, 2020, an obligation was allegedly created to the creditor,

   U.S. Bank National Association.

          21.   Upon information and belief, U.S. Bank National Association contracted Defendant

   for the purpose of collecting the defaulted debt associated with an account ending in 4238.

   Therefore, Defendant is a “debt collector” as defined by 15 U.S.C.§ 1692a (6).

          22.   Upon information and belief, the original subject obligation arose out of a credit card

   debt. The subject debt was incurred by Plaintiff solely for personal, household or family

   purposes.

          23.   The Plaintiff is a “consumer” as defined by 15 U.S.C.§ 1692a (3).

          24.   The subject obligation is consumer-related, and therefore a “debt” as defined by 15

   U.S.C.§ 1692a (5).

                                 Violation – July 23, 2020 Collection Letter

          25.   On or about July 23, 2020, Defendant sent the Plaintiff a collection letter regarding

   the alleged debt owed to U.S. Bank National Association. (See Letter at Exhibit A.)

          26.   Around the middle of the letter, Defendant states in relevant part:

                Itemization of Debt:
                Total Amount Due as of Charge-Off: $4,533.39
                Total Amount of Interest Accrued Since Charge-Off: $0.00
                Total amount of Non-Interest Charges or Fees Accrued Since Charge-Off: $820.78
                Total of Payments Made Since Charge-Off: $0.00

          27.   Beyond the interest and fees already included within the underlying total of

   $4,533.39 as of the point of charge-off, Defendant seeks to collect additional fees post-charge-

   off.

          28.   However, Defendant has no basis for charging the “post charge-off fees” in the

   underlying agreement between the Plaintiff and the original creditor.



                                                   6
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 7 of 10 PageID #: 7




      29.       Defendant is not permitted by law to charge the “post charge-off fees.”

      30.       Furthermore, the fees are generically defined and are excessive as they represent

   close to 20% of the amount of the post charge-off debt.

      31.       Therefore, Defendant seeks to collect an amount that misrepresents the debt, in

   violation of 15 U.S. Code § 1692 (e) et seq., as the Defendant was not expressly authorized by

   the agreement creating the debt or permitted by law to charge excessive “non-interest charges

   or fees accrued since charge-off”.

      32.       In result, the Plaintiff incurred an informational injury as Defendant misstated the

   total amount of the debt by adding impermissible fees to the total balance.

      33.       Plaintiff incurred concrete and particularized harm in that Plaintiff did not give

   serious consideration to repayment of the subject debt because the post charge-off fees were so

   excessive.

      34.       As a result of Defendant’s deceptive, misleading and unfair debt collection practices,

   Plaintiff has been damaged.

                                             COUNT I

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. §1692e et seq.

      35.       Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

   above herein with the same force and effect as if the same were set forth at length herein.

      36.       Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

   violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

      37.       Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

   misleading representation or means in connection with the collection of any debt.

      38.       Defendant violated §1692e:

                                                  7
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 8 of 10 PageID #: 8




              a. As the letter falsely represents the true amount of the debt in violation of

                  §1692e(2)(A); and

              b. By making a false and deceptive representation in violation of §1692e (10).

      39.     By reason thereof, Defendant is liable to Plaintiff for judgment in that Defendant’s

   conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

   and attorneys’ fees.


                                           COUNT II

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                    15 U.S.C. §1692f et seq.

      40.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

   above herein with the same force and effect as if the same were set forth at length herein.

      41.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

   violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

      42.     Pursuant to 15 U.S.C. §1692f (1), a debt collector may not use unfair or

   unconscionable means to collect or attempt to collect any debt, including the collection of a fee

   incidental to the principal obligation unless such amount is expressly authorized by the

   agreement creating the debt or permitted by law.

      43.     Defendant violated §1692f (1):


              a. As the letter seeks to collect non-interest charges or fees accrued post charge-off

                  of $820.78, which is not expressly authorized by the agreement between the

                  Plaintiff and U.S. Bank National Association or permitted by law.




                                                 8
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 9 of 10 PageID #: 9




       44.     By reason thereof, Defendant is liable to Plaintiff for judgment in that Defendant’s

   conduct violated Section 1692f (1) of the FDCPA, actual damages, statutory damages, costs and

   attorneys’ fees.


                                               COUNT III

          VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                       15 U.S.C. §1692g et seq.

       45.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

   above herein with the same force and effect as if the same were set forth at length herein.

       46.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

   violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

       47.     Pursuant to 15 U.S.C. §1692g(a)(1), a debt collector must provide notice of a debt,

   including the amount of the debt.

       48.     Defendant violated §1692g(a)(1):


               a. As the letter falsely represents the true amount of the debt.


       49.     By reason thereof, Defendant is liable to Plaintiff for judgment in that Defendant

   conduct violated Section 1692g(a)(1) of the FDCPA, actual damages, statutory damages, costs

   and attorneys’ fees.


                                 DEMAND FOR TRIAL BY JURY

       50.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

   a trial by jury on all issues so triable.




                                                   9
Case 1:21-cv-03989-MKB-RLM Document 1 Filed 07/14/21 Page 10 of 10 PageID #: 10




                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Cheskel Gross, individually and on behalf of all others similarly

 situated, demands judgment from Defendant Radius Global Solutions LLC as follows:


        1.      Declaring that this action is properly maintainable as a Class Action and certifying

    Plaintiff as Class representative, and Tamir Saland, Esq. as Class Counsel;

        2.      Awarding Plaintiff and the Class statutory damages;

        3.      Awarding Plaintiff and the Class actual damages;

        4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

    expenses;

        5.      Awarding pre-judgment interest and post-judgment interest; and

        6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

    just and proper.


        Dated: July 14, 2021                                 Respectfully Submitted,

                                                             STEIN SAKS, PLLC

                                                             _/s/ Tamir Saland________
                                                             Tamir Saland, Esq.
                                                             One University Plaza, Ste. 620
                                                             Hackensack, NJ 07601
                                                             Ph: 201-282-6500 ext. 122
                                                             Fax: 201-282-6501
                                                             tsaland@steinsakslegal.com
                                                             Counsel for Plaintiff




                                                 10
